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                                                                  2024 Sep-12 AM 09:21
                                                                  U.S. DISTRICT COURT
                                                                      N.D. OF ALABAMA




           Exhibit A
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From: Sarah Stokes
Sent: Friday, August 30, 2024 4:44 PM
To: james.seal@bluestone-coal.com
Cc: Ryan Anderson <randerson@selcal.org>; Eva Dillard <edillard@blackwarriorriver.org>; Jenny
Camp <jcamp@selcal.org>
Subject: FW: Invoice needed for attorney's fees for federal court case



James,

Attached, please ﬁnd the requested invoice. We will get back to you next week about potential
deposition and mediation dates.

Sarah



Sarah Stokes
Senior Attorney

Southern Environmental Law Center
2829 2nd Avenue South, Suite 282
Birmingham, AL 35233

(205) 745-3060
www.southernenvironment.org
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